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 UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,               )   CR. NO. 17-00101 LEK
                                         )
          Plaintiff,                     )   UNITED STATES’S RESPONSE TO
                                         )   DEFENDANT’S APPEAL AND
    vs.                                  )   REQUEST TO DISTRICT COURT TO
                                         )   RECONSIDER A PRETRIAL MATTER
 ANTHONY T. WILLIAMS,                    )   DETERMINED BY THE MAGISTRATE
                                         )   JUDGE; CERTIFICATE OF SERVICE
          Defendant.                     )
                                         )

           UNITED STATES’S RESPONSE TO DEFENDANT’S
     APPEAL AND REQUEST TO DISTRICT COURT TO RECONSIDER A
     PRETRIAL MATTER DETERMINED BY THE MAGISTRATE JUDGE

       The government respectfully submits this brief in opposition to Defendant

 Anthony Williams’s (Defendant) “Appeal and Request to District Court to
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 Reconsider a Pretrial Matter Determined by the Magistrate Judge” (Df. Appeal re

 4th OSC Mot.). ECF No. 300. On July 23, 2018, the Court heard arguments on

 Defendant’s Fourth Motion for Order to Show Cause (Df. 4th OSC Mot.) regarding

 Defendant’s demand for: (1) 24-hour access to CDs containing discovery from

 this litigation; and (2) the right to have office supplies provided by his counsel,

 instead of by the Bureau of Prisons (BOP). ECF No. 295. On July 25, 2018, the

 Court, Magistrate Judge Barry M. Kurren, denied the motion. ECF No. 297.

       Defendant now appeals the decision of the Magistrate Judge only with

 respect to his access to discovery disks. First, Defendant argues that the July 25,

 2018 Order contradicts earlier orders of this Court and representations of the

 government. Second, Defendant argues that the Court’s order requiring that the

 BOP permit Defendant at least two hours per day to view the contents of his

 discovery upon request violates his right to prepare for trial. Finally, Defendant

 argues that BOP’s limitations upon his access to his discovery were unwarranted

 by any action committed by Defendant.

       For the reasons below, Defendant’s appeal of the Magistrate Judge’s July 25,

 2018 Order should be denied.

                                     ARGUMENT

       Contrary to Defendant’s conclusory arguments otherwise, the July 25, 2018

 Order: (1) was consistent with all previous orders of the Court and representations


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 of the government; (2) correctly recognizes that Defendant has had constitutionally

 adequate access to the materials necessary to prepare a defense for trial.

 Defendant’s allegation that his access to his discovery disks has changed is

 irrelevant, and is disputed in any event.

 I.    Legal Standard

       A Magistrate Judge of this Court may hear and determine any pretrial matter

 pending before this Court, other than certain dispositive motions. 28 U.S.C.

 § 636(b)(1); Local Rule 57.3(a) of the Local Rules of Practice for the U.S. District

 Court for the District of Hawaii (D. Haw. L.R.). Any party may appeal from a

 pretrial non-dispositive matter referred to a Magistrate Judge pursuant to 28 U.S.C.

 § 636(b)(1)(A). D. Haw. L.R. 57.3(b).

       The review by the District Court of a Magistrate Judge’s Order as to a non-

 dispositive matter is deferential: “A judge of the [District Court] may reconsider

 any [nondispositive pretrial matter] where it has been shown that the magistrate’s

 order is clearly erroneous or contrary to law.” § 636(b)(1)(A). Therefore,

 decisions by the Magistrate Judge on nondispositive matters “are essentially final

 decisions of the district court which may be appealed in due course with other

 issues.” United States v. Abonce-Barrera, 257 F.3d 959, 969 (9th Cir. 2001),

 quoting United States v. Brown, 79 F.3d 1499, 1504 (7th Cir. 1996).




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 II.   The July 25, 2018 Order Is Consistent With The Earlier Discovery
       Orders Of This Court And The Representations Of The Government

       A. The July 25, 2018 Order Is Not Affected By The
          December 18, 2017 Order Granting Defendant Limited
          Rights To A Printer And Writeable CD, Which Has Been Stayed

       Defendant’s motion claims that the July 25, 2018 Order contradicts earlier

 rulings of this Court. In particular, Defendant claims that this Court has previously

 ruled that he is entitled to greater access to his discovery to prepare for litigation:

              During the scheduled hearing, Attorney Rodrigues and
              Annelizabeth Card lied and misrepresented to the Court
              the things that they had deprived the undersigned of and
              Judge Kurren totally disregarded the facts and previous
              orders of Judge Puglisi and Chang and ordered the
              undersigned to an even more limited access to his
              discovery discs to only 2 hours when the undersigned
              sends an email request. Judge Puglisi and Judge Chang
              had at least four (4) hearings to decide the issues
              involved and ruled that the access BOP was giving the
              undersigned was inadequate and therefore issued oral
              and written orders for the BOP to accommodate the
              undersigned. However, in one hearing Judge Kurren
              disregarded two previous judges ruling and a pending
              order and has violated the undersigned[‘]s right by
              divesting him of the tools and access that he had access
              to for 9 months.

 Df. Appeal re 4th OSC Mot. Exh. A p.2 (emphasis added). Defendant repeats this

 claim that he had two favorable prior rulings in his Motion to Appeal Order

 Denying Disqualification of Judge Leslie Kobayashi, which was filed three days




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 prior to this instant motion. ECF No. 299-2 at p. 3 (Motion to Appeal Exh. A p. 3).

 Defendant cites no specific order in conflict with the July 25, 2018 Order.1

       Contrary to Defendant’s claim otherwise, the July 25, 2018 Order is

 consistent with all previous orders of this Court. Defendant has prevailed upon

 only one discovery motion to date. See Order Granting in Part and Denying in Part

 Defendant’s Motion to Compel, December 18, 2017 (December 18, 2017 Order),

 ECF No. 75. In that Order, the Court, Magistrate Judge Richard L. Puglisi,

 ordered BOP to “provide a printer for Defendant to use in conjunction with the

 computer” that Defendant uses to review discovery. December 18, 2017 Order 2.

 Moreover, the December 18, 2017 Order ordered the BOP to “allow Lars R.

 Isaacson, Esq., stand-by counsel for Defendant, to provide a blank CD for

 Defendant to use in conjunction with the computer provided for discovery review,”

 and to make technical accommodations to ensure that Defendant had the ability to

 save to the CD. Id.


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   Defendant regularly repeats this claim that this Court has granted him greater
 privileges to access his discovery to BOP staff at the Federal Detention Center,
 Honolulu, and uses it as a cudgel to make demands upon BOP staff. See ECF No.
 292-2 (Exh. A to Declaration of AnnElizabeth Card, United States’s Response to
 Defendant’s Fourth Motion for Order to Show Cause and Request for Expedited
 Hearing, p.6 (“My order from the court is for me to have access to my discs all day
 as I had since October of last year. . . . I need my discs every day when I wake up
 until lock down and 8:45 pm.”); 06/27/2018 A. Williams e-mail to Unit Manager
 Liaison, Exh. A p. 5 (“I am the wrong one to play these stupid games with as I
 have already had this racist facility in court numerous times and have a court
 order mandating my daily access to my discs 7 days a week.”) (emphasis added)).
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       The December 18, 2017 Order, which pertains to the use of a printer and a

 writeable CD, is irrelevant to this appeal, which pertains to access to discovery

 disks. Moreover, the December 18, 2017 Order has been stayed, ECF No. 77, and

 therefore has no force or effect to contradict the July 25, 2018 Order that is the

 subject of this appeal. The Court has yet to issue a decision upon that appeal.

 Accordingly, the July 25, 2018 Order does not contradict any prior Court order.

       B. The July 25, 2018 Order Is Not Inconsistent With The
          Representations Of The Government At The October 6,
          2017 Status Conference, Which Defendant Mischaracterizes To
          Support His Demand For Unfettered Access To His Discovery Disks

       Defendant’s appeal also erroneously claims that the July 25, 2018 Order

 contradicts an assurance made by the government during past discovery hearings

 relating to its obligation to provide Defendant access to discovery:

              Several hearings were administered in the presence of
              Judge Puglisi and Judge Chang. During those
              proceedings it was agreed upon that the undersigned was
              entitled to have access to his discovery discs, a dedicated
              computer to view them on, an office to view them and
              draft legal documents.

 Appeal Exh. A p. 3-4.

       The government is not aware of any promise made to Defendant in open

 court that he would have 24-hour access to discovery; the one related reference that

 the government is aware of makes no such promise. On October 6, 2017, at a

 status conference before Magistrate Judge Kevin S. C. Chang, BOP attorney


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 Timothy Rodrigues outlined the electronic discovery procedures at the Federal

 Detention Center (FDC) Honolulu:

                     The first document, Your Honor, is a
              memorandum from our warden regarding electronic
              discovery procedures at the FDC, and this was issued
              earlier this year. And it does specify that CDs and DVDs
              are acceptable and that’s the format which the
              government and defense counsel can send materials to
              the defendant. These materials can be reviewed during a
              legal visit. There are several computers in the attorney-
              client visitation rooms and they can also be mailed or left
              in person.

                      And responding to some of the specific questions
              that were provided to me from defense counsel, the discs
              will be stored with the defendant’s unit team. He can
              retrieve them at his option, simply go into the unit team
              and checking them out. The reason they’re not provided
              and able to be stored in a cell is they can easily be
              broken, used as weapons, but they will be available all
              day. And I have confirmed that he is in our pretrial unit
              which does have a dedicated discovery review PC in the
              unit, and as far as I know, no one else is making use of it
              at this time. He can use it. He can print, through a
              request of the staff, at $0.10 a page.

 No 287-2 at p. 1-3.

       Thus, Mr. Rodrigues broadly described FDC Honolulu’s policy with respect

 to an inmate’s access to litigation discovery; he did not promise special

 accommodations or discovery access privileges to Defendant, as Defendant

 persistently claims. As explained by Mr. Rodrigues, all FDC Honolulu pretrial

 inmates have access to a single discovery computer to view the discovery in their


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 respective cases. However, this does not imply unfettered access of every inmate

 to the discovery terminal, as there are many inmates.

       Moreover, Mr. Rodrigues did not purport to detail all of the FDC Honolulu’s

 procedures for an inmate to request use of BOP resources to review one’s litigation

 discovery at the October 6, 2017 hearing. As detailed in the government’s brief in

 opposition to Defendant’s 4th OSC Motion and the attached Declaration of

 Associate Warden AnnElizabeth Card, Defendant’s disks are viewable in a

 separated, dedicated room at FDC Honolulu that is open every day to all inmates,

 both those housed in general population and at the Special Housing Unit. ECF No.

 292-1 (Card Decl. ¶¶ 9, 12, 14, 15). Disks are kept by Defendant’s Unit Team

 primarily to limit their uncontrolled circulation in the housing unit, as they can be

 shattered and used as weapons. ECF No. 292-1 (Card Decl. ¶¶ 22). Inmates are

 required to view their discovery alone in an e-discovery room to ensure the

 confidentiality of their review. ECF No. 292-1 (Card Decl. ¶¶ 16, 24). To view

 the disks and to utilize the e-discovery room, Defendant must e-mail a request to

 the unit team from any computer terminal in the housing unit. Id. The requesting

 inmate has at least a two-hour block of time to review his requested discovery in

 the e-discovery room, or longer depending upon the availability of the room. This

 process ensures that inmates have equal and orderly access to their discovery when

 multiple inmates request to view discovery on the same day. Id. Defendant was


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 aware of this procedure before he filed his 4th OSC Motion, and had followed it in

 the past. ECF No. 292-1 (Card Decl. ¶¶ 17, 18); ECF No. 292-3 (Exh. C (e-

 discovery log showing Defendant signed out disks on June 20 and 29, 2018)).

        As outlined in the government’s brief in response to the Defendant’s 4th

 OSC Motion, Defendant refused to follow these procedures and instead filed his

 4th OSC Motion to gain unfettered access to his discovery and the discovery

 terminal, which necessarily impacts the access of all other inmates to their own

 discovery. The July 25, 2018 Order denied Defendant’s motion and ordered that

 Defendant follow the BOP procedure to request and reserve time to view his

 discovery disks. The July 25, 2018 Order is not inconsistent with the

 Government’s October 6, 2017 representation.

        In light of the forgoing, the July 25, 2018 Order is not clearly erroneous or

 contrary to law and should be affirmed.

 III.   The Magistrate Judge’s Decision Correctly Determined Defendant
        Has Had Constitutionally Adequate Access To His Discovery Disks

        The July 25, 2018 Order correctly determined that Defendant’s access to his

 discovery to prepare for trial was well within the requirements of the Constitution,

 and was therefore neither clearly erroneous, nor contrary to law. In essence,

 Defendant’s claim is that anything short of all-day access to the sole discovery

 terminal at FDC Honolulu and his discovery disks is a violation of his

 Constitutional right of access to the Courts. This is baseless.

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       The Fifth Amendment Due Process Clause guarantees a right of access to

 the court. Storseth v. Spellman, 654 F.2d 1349, 1352 (9th Cir. 1981). Appointed

 counsel offers a meaningful, and certainly the best avenue of access to an indigent

 inmate. Id. at 1353. “An attorney is in a better position than the inmate . . . to

 promote efficient and skillful handling of the inmate’s case.” Id., quoting Bounds,

 430 U.S. at 831. A court-appointed attorney has unlimited access to an inmate’s

 discovery and to legal research, in addition to his/her own legal expertise. The

 offer of court-appointed counsel to represent Defendant satisfies the government’s

 Constitutional obligation to provide meaningful access to the courts. United

 States v. Wilson, 690 F.2d 1267, 1272 (9th Cir. 1982). Defendant has been offered

 court-appointed counsel, but has invoked his statutory and Sixth Amendment right

 to waive the advantages of counsel and represent himself. 28 U.S.C. § 1654;

 Faretta v. California, 422 U.S. 806 (1975).

       Having waived his right to Court-appointed counsel, Defendant must accept

 the consequences and limitations of his decision. “When an adequate method of

 access is provided and an inmate does not avail himself of it, he may not insist on

 an avenue of his choosing[,]” as Defendant attempts to do here. Storseth, 654 F.3d

 at 1353. In prison, Defendant’s access to his discovery is limited: the Sixth

 Amendment demands that an incarcerated pro se defendant be afforded reasonable

 access to ‘law books, witnesses, or other tools to prepare a defense.” Milton v.


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 Morris, 767 F.2d 1443, 1446 (9th Cir. 1985). However, Defendant’s right of

 access must be balanced against the legitimate security needs or resource

 constraints of the prison. United States v. Robinson, 913 F.2d 712, 717 (9th Cir.

 1990), cert. denied, 498 U.S. 1104 (1991). BOP has a legitimate security interest

 in controlling access to removable media such as CDs to prevent unmonitored

 inmate communication or conversion of the CDs into weapons. Similarly, BOP

 has an interest in maintaining inmate safety by limiting access to the e-discovery

 room to one inmate at a time. BOP’s use of a request process for e-discovery

 review ensures resources are accounted for and equally accessible to all inmates.

       BOP has provided Defendant sufficient access to his discovery to pass Sixth

 Amendment muster. Defendant has had access to his discovery disks at FDC

 Honolulu since the government produced them. Both during his time in the

 Special Housing Unit and while in general population, Defendant could request

 both his discovery disks as well as time in a dedicated e-discovery room.

 According to FDC Honolulu procedures, Defendant could reserve the discovery

 room for two hour periods every day; Defendant has not alleged anywhere that he

 has been denied a viewing time upon his written request. Moreover, the July 25,

 2018 Order guarantees Defendant at least one two-hour block of time per day,

 upon his written request.




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       The Ninth Circuit has approved far more severe restrictions upon an

 incarcerated defendant’s access to discovery. In United States v. Sarno, the Ninth

 Circuit found no abuse of discretion when an incarcerated defendant was provided

 only twenty hours to review 250,000 pages of discovery in preparation for trial. 73

 F.3d 1470, 1492 (9th Cir. 1982). To date, Defendant has already been provided his

 discovery disks for use at the FDC Honolulu e-discovery terminal for sixty-one

 hours between May 8, 2018 and June 29, 2018. ECF No. 292-1 (Card Decl. ¶ 12).

 IV.   Defendant’s Claim That His Access To Discovery
       Was Limited By BOP Is Disputed And Irrelevant

       Defendant argues that “there was no action committed by the undersign[ed]

 to warrant changing the access he previously had to be prepared for trial.” Df.

 Appeal 4th OSC Mot. Exh. A p. 5. It is not clear what this refers to.

       Defendant’s accommodations at BOP have necessarily changed during his

 incarceration, as he was moved into and out of Special Housing Unit for discipline.

 However, throughout this time, Defendant has had Constitutionally adequate

 access to materials necessary to prepare for his defense. ECF No. 292-1 (Card

 Decl. ¶¶ 7-12). Moreover, the July 25, 2018 Order provides a requirement that

 Defendant have access to his discovery disks for at least two hours per day, upon

 his properly submitted request. The fact that BOP may alter his accommodations

 otherwise is irrelevant to this appeal. Defendant’s right of access to the Courts

 must be balanced against the legitimate security needs or resource constraints of

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 the prison. United States v. Robinson, 913 F.2d 712, 717 (9th Cir. 1990), cert.

 denied, 498 U.S. 1104 (1991).

       In light of the foregoing, Defendant’s appeal should be denied. The July 25,

 2018 Order is consistent with all prior orders of this Court and representations of

 counsel and preserves Defendant’s right to access his discovery within the

 requirements of the Constitution. Defendant has access to court-appointed legal

 counsel, and through him, 24-hour access to the discovery in this litigation, as well

 as to legal research, and the expertise of legal counsel. Having rejected this

 representation, Defendant is now dissatisfied that his incarceration limits his ability

 to prepare for a defense. As BOP’s limitations are well within the requirements of

 the Constitution, the July 25, 2018 Order is neither clearly erroneous nor contrary

 to law.

                                    CONCLUSION

       The government respectfully opposes the Defendant’s Appeal and Request

 to District Court to Reconsider a Pretrial Matter Determined by Magistrate Judge

 and requests that the Appeal be denied.

              DATED: August 21, 2018, at Honolulu, Hawaii.

                                                 KENJI M. PRICE
                                                 United States Attorney
                                                 District of Hawaii


                                                 By /s/ Gregg Paris Yates

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                                               GREGG PARIS YATES
                                               Assistant U.S. Attorney




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                             CERTIFICATE OF SERVICE

              I hereby certify that, on the dates and by the methods of service noted

 below, a true and correct copy of the foregoing was served on the following by the

 method indicated on the date of filing:

 Served Electronically through CM/ECF:

       Lars Isaacson, Esq.                           hawaii.defender@earthlink.net

       Attorney for Defendant
       ANTHONY T. WILLIAMS

 Served by First Class Mail:

       Anthony T. Williams
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       PO Box 30080
       Honolulu, HI 96820

              DATED: August 21, 2018, at Honolulu, Hawaii.


                                              /s/ Melena Malunao
                                              U.S. Attorney’s Office
                                              District of Hawaii
